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te.i¢\O |32 (Rev. 12/03} Exemplification Certificate

UNITED STATES DIsTRICT COURT
SOUTHERN District Ot- MlsslsslPPi

 

 

EXEMPLIFICATION CERTIFICATE

I ARTHUR JOHNSTON Clerk of this United States District Court,

l 7

keeper of the records and seal, certify that the attached documents:

1:10cv559HSO-JMR Document #148 filed 7."1‘1!20‘|3, Amended Fina| Judgment

are true copies of records ofthis Court.

ln testimony whereof lsign my name and afer the seal of this Court7 in this District, at
GUlf[DOl"t, MiSSiSSlppl en 7/19/2018

 

 

Cr't_y ' _ Date
rim - f Q
lUFt JOHNST_)N kirk )_ ` “ C_ch /
clerk (By) Dr»pm).lczerk `° "

1 JUDGE HAL|L SULEYMAN OZERDEN a Jodicial Officer of this Court,

certify that ARTHUR JOHNSTON , named above, is and was on the date noted,
Clerk of this Court, duly appointed and sworn, and keeper of the records and seal, and that this certificate, and
StateS.

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the attestation of the record, are in accordance with the laws of the f n'

      
 

7)'19/2018 f ' '
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UN|TED STATES D|STR|CT JUDGE

 

 

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I, ARTHURJOHNSTON , Clerk of this United States Distn`ct Court,
keeper of the seal, certify that the I-Ionorable JUDGE HAL|L SULEYMAN OZERDEN ,
Jc¢c!ge

named above, is and was on the date noted a Judicial Oft'lcer of this Court, duly appointed, sworn and qualitied,
and that I am well acquainted with the Judge’s official signature and know and certify the above signature
to be that of the Judge. '

 

 

 

M|SS|S§{H§:|stimony whereof l sign my name, and affix the seal ofthis_Court at GU|'FPORT‘
in this State, on 7/19#'2013
Ci"}’ Da!c

Aaraua winston j §
W M

Clerk (B_ 1') De;)uty Clerk

